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                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                      Miami Division

                               Case Number: 21-23190-CIV-MORENO

  CARLOS EDUARDO MARRON, JANE DOE,
  C.R., a minor, and S.A., a minor,

                 Plaintiffs,
  vs.

  NICOLAS MADURO MOROS, FUERZAS
  ARMADAS REVOLUCIONARIOS DE
  COLOMBIA, CARTEL OF THE SUNS,
  VLADIMIR PADRINO LOPEZ, MAIKEL
  JOSE MORENO PEREZ, NESTOR LUIS
  REVEROL TORRES, TAREK WILLIAM
  SAAB, and TARECK EL AISSAMI,

              Defendants.
  _________________________________________/

  ORDER GRANTING MOTION FOR SERVICE BY THE UNITED STATES MARSHAL

         THIS CAUSE comes before the Court on Plaintiffs’ Motion for An Order Directing
  Service by the U.S. Marshal’s Service [ECF No. 8] filed on September 9, 2021. The Court has
  reviewed the Motion and the record and is otherwise fully advised. Based thereon, it is
         ORDERED AND ADJUDGED that Plaintiffs’ Motion for An Order Directing Service by
  the U.S. Marshal’s Service [ECF 8] is GRANTED.


         1. The Clerk is directed to sign and issue the Summons of Fuerzas Armadas
         Revolucionarias de Colombia, which appears at ECF No. [8-1].
         2. Pursuant to Federal Rule of Civil Procedure 4(c)(3), the U.S. Marshal’s Office,
         Colorado District Office, is directed to serve the complaint (ECF No. 1) and summons of
         Fuerzas Armadas Revolucionarias de Colombia on Juvenal Ovidio Ricardo Palmera
         Pineda (BOP Inmate #27896-016) at USP Florence Admax in accordance with the
         applicable Special Administrative Measures or BOP Regulations.
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         3. The U.S. Marshal’s Office must return a completed Form USM-285 (Process Receipt
         and Return) to Plaintiff’s counsel within 10 days after service.
         DONE AND ORDERED in Chambers at Miami, Florida, this 13th of September 2021.




                                       ______________________________________
                                             FEDERICO A. MORENO
                                             UNITED STATES DISTRICT JUDGE

  Copies furnished to:

  Counsel of Record




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